         Case 3:17-cv-00101-RDM Document 70 Filed 01/16/18 Page 1 of 5




1700 G Street NW, Washington, DC 20552

January 16, 2018

Filed Via ECF

The Honorable Robert D. Mariani
U.S. District Court, Middle District of Pennsylvania
William J. Nealon Federal Bldg. & U.S. Courthouse
235 N. Washington Avenue
Scranton, PA 18503

       Re:    Consumer Financial Protection Bureau v. Navient Corp., et al.,
              Case No. 3:17-CV-00101-RDM

Dear Judge Mariani:

     Pursuant to the Court’s January 8, 2018 order, I write on behalf of the
Consumer Financial Protection Bureau (Bureau) to outline our positions
regarding the discovery issues raised in Defendants’ January 5, 2018 letter.

      1.    Defendants argue that pre-decisional documents related to
policies and guidance considered by the Bureau and the Department of
Education (ED) “are highly probative of whether Defendants’ policies and
practices were reasonable.” This argument does not withstand scrutiny.

       The issue in this litigation is whether Defendants’ alleged conduct is
illegal under the Consumer Financial Protection Act (CFPA), the Fair Credit
Reporting Act and its implementing regulation, and the Fair Debt
Collection Practices Act. The Bureau has produced to Defendants the final
versions of any policies and guidance relating to the practices alleged in the
complaint, including Bureau reports, Bureau blog posts, and public
remarks by Bureau officials. Now Defendants seek all documents relating to
these final versions, including internal drafts and communications. In
addition, Defendants seek documents relating to any policies and guidance
that the Bureau considered but did not issue or publish.

      Defendants, however, cannot justify production of the requested pre-
decisional documents. Numerous courts have held that unpublished views
          Case 3:17-cv-00101-RDM Document 70 Filed 01/16/18 Page 2 of 5




of agency staff are not official agency positions and carry no legal
significance. For example, in United States v. Farley, the Seventh Circuit
held that internal DOJ and FTC documents containing discussions among
agency staff were not discoverable because they were not relevant to any of
the defendant’s defenses, including his defenses based on his interpretation
of a statute and a related regulation. 11 F.3d 1385, 1390-91 (7th Cir. 1993).
As the court explained, “[c]ourts may not [] rely on unpublished opinions of
agency staff” to interpret a statute or regulation, but instead “need look only
to the language of the regulation and any official, public interpretations of
it.” Id. at 1391; see also Arkansas Louisiana Gas Co. v. Hall, 453 U.S. 571,
581 n.11 (1981) (“[S]taff counsel may not speak for the Commission.”); Int’l
Paper Co. v. Fed. Power Comm’n, 438 F.2d 1349, 1358 (2d Cir. 1971)
(“views of individual members of the Commission’s staff are not legally
germane”). 1

       Defendants have not even contended that they were aware of the
intra-Bureau drafts or communications, much less that they fashioned their
behavior based on any such intra-Bureau document. See Farley, 11 F.3d at
1390-91 (noting that “[t]he suppositions of FTC staff members expressed in
internal memoranda . . . are not pertinent,” particularly because such intra-
agency deliberations were not disseminated to the public and therefore
could not have been relied upon); United States v. Elsass, 2012 WL 353739,
at *1 (S.D. Ohio 2012) (denying motion to compel production of intra-
agency communications because “‘[a]ctions or positions of which
Defendants had no knowledge are simply irrelevant to . . . the
reasonableness of Defendants’ conduct’”).

      Finally, even if Defendants could articulate some basis to believe that
there might be relevant documents covered by its request, the requested
discovery is not proportional to the needs of the case. The Bureau would
have to undertake enormous efforts to gather and review possibly
responsive materials, and even after identifying any responsive materials, it

      1United States v. Exxon Corp., 87 F.R.D. 624 (D.D.C. 1980), cited by
Defendants, is not to the contrary. That case was limited to “specific
circumstances” not present here–namely, instances where an agency
“attempts to enforce [] subsequent regulations retrospectively.” Id. at 631,
633. As the Court already held, “the CFPB’s lawsuit does not retroactively
impose any requirements on Navient.” Docket #57, at 18.
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       Case 3:17-cv-00101-RDM Document 70 Filed 01/16/18 Page 3 of 5




is likely that the vast majority of them would be protected from disclosure
by the deliberative process privilege. Thus, we believe that the Bureau’s
burden and expense of complying with Defendants’ request cannot be
justified when weighed against the remote possibility that production could
lead to relevant, non-privileged evidence.

      2.    Defendants seek documents relating to the policies and
practices of other servicers and debt collectors on the ground that such
documents will aid in determining whether Defendants’ conduct was
reasonable. However, the conduct of entities other than Defendants has no
bearing on whether Defendants violated the law.

       In government enforcement actions, courts have repeatedly rejected
the “everyone else is doing it” or “why me” defense—the notion that,
because competitors allegedly were engaging in the same conduct as the
defendant, the government cannot take action against the defendant. See,
e.g., Moog Indus., Inc. v. FTC, 355 U.S. 411, 413 (1958) (holding that the
FTC’s cease-and-desist order was valid, notwithstanding that the FTC had
not yet pursued action against others in the industry); Regina Corp. v. FTC,
322 F.2d 765, 769 (3d Cir. 1963) (same). Accordingly, even if Defendants
could show that their competitors were engaged in the same practices, that
would not be relevant to resolving any issue in this litigation.

       Nor need the Bureau show, as part of its prima facie case, that
Defendants’ practices deviated from any sort of industry norm. None of the
claims that the Bureau has brought contain any elements that contemplate
a comparison between Defendants and their competitors. Indeed, in
denying a motion to compel production of FTC documents relating to the
practices of other entities in an industry, a district court noted that
determining whether a defendant’s conduct violates the FTC Act does not at
all hinge on the conduct of the defendant’s competitors:

    The FTC’s lawsuit concerns [the defendant’s] actions, not its
    competitor’s actions. . . . Every element in a Section 5 claim [for
    deception or unfairness under the FTC Act] relates to the conduct
    of the defendant in the lawsuit, not the conduct of other industry
    participants. Thus, the conduct of other participants in the []
    industry . . . has no bearing on the FTC’s claim.


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          Case 3:17-cv-00101-RDM Document 70 Filed 01/16/18 Page 4 of 5




FTC v. Chemence, Inc., 209 F. Supp. 3d 981, 985 (N.D. Ohio 2016). The
FTC Act is not concerned with industry practice and is instead solely
concerned with the relationship between the defendant and the consumer.
See, e.g., FTC v. E.M.A. Nationwide, Inc., 767 F.3d 611, 631 (6th Cir. 2014)
(noting that, for deception claims under the FTC Act, the Court focuses on
“‘the likely effect the [defendant’s] handiwork will have on the mind of the
ordinary consumer’”). The same is true of the CFPA. 2

      The notion that a company cannot be deemed to have violated
consumer finance law if one or more of its competitors were engaged in
similar conduct is also impossible to square with the purpose of the CFPA.
The CFPA was enacted in the wake of a financial crisis to combat
widespread practices in various industries. See, e.g., S. Rep. 111-176, at 17
(2010) (noting that “[a]busive lending, high and hidden fees, unfair and
deceptive practices, confusing disclosures, and other anti-consumer
practices have been a widespread feature in commonly available consumer
financial products”). In light of this purpose, it would not make sense to
allow all competitors in an industry to engage in behavior that injures
consumers and then be insulated from prosecution by virtue of the fact that
their behavior was the industry norm. However, that is precisely the type of
argument that Defendants are trying to make in seeking discovery about
the practices of their competitors.

     We look forward to further discussion of these issues during the
January 18, 2018 teleconference.

      Thank you for your time and consideration.




      2Defendants cite to FTC v. Amazon.com, Inc., 2016 WL 1221654
(W.D. Wash. 2016), in an attempt to justify the relevance of the practices of
third-party competitors. But the court in Amazon did not make a holding
that any information was relevant. The court decided, in ruling on a motion
in limine to exclude a rebuttal expert, that wholesale exclusion of the
rebuttal expert was not warranted. The court reserved judgment about the
relevance of various parts of that expert’s report, specifically noting that it
“may sustain any well-placed relevance objections at trial.” Id. at *5.
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       Case 3:17-cv-00101-RDM Document 70 Filed 01/16/18 Page 5 of 5




                                   Sincerely,

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Cc:   All counsel (via operation of ECF)




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